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                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF CONNECTICUT

    UNITED STATES OF AMERICA                              : Criminal No. 3:23-cr-56 (VAB)
                                                          :
                         v.                               :
                                                          :
    TY’JON 1 PRESTON                                      : March 5, 2025

                         GOVERNMENT’S SENTENCING MEMORANDUM

           The Government respectfully submits this sentencing memorandum in connection with

defendant Ty’Jon Preston’s sentencing hearing, currently scheduled for March 18, 2025. See

Docket Entry Number (“Dkt. Entry No.” 333). For the reasons detailed below, the Government

asks that the Court adopt the findings of fact in the Presentence Report (“PSR”) and impose a

sentence within the agreed-upon Guidelines range of 264 to 360 months of imprisonment under

Fed. R. Crim P. 11(c)(1)(C). The defendant’s involvement in drug dealing; the attempted murder

of Robert Smith; the murder of Tashawn Brown; the murder of Ciera Jones and his other attempted

murders of rival gang members and others perceived to be disrespectful to him; as well as his

involvement in the Exit 8 gang, trading, stealing and use of firearms; celebration of and promotion

of violence and narcotics trafficking all warrant a substantial sentence. The victims deserve justice,

and the community deserves an end to the terror that Preston left in his wake.

           I.      BACKGROUND

           A.      Procedural History

           On August 2, 2023, a federal grand jury returned a Superseding Indictment charging Ty’Jon

Preston and eight other Exit 8 members and associates with various racketeering and narcotics

offenses, including sixteen attempted murders and three murders of rival gang members, from 2018

through 2023. See Dkt. Entry No. 80.


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    Government counsel has followed the defendant’s spelling of his first name in the defense memorandum.


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       B.       Plea Agreement and Sentencing Guidelines Stipulation

       On April 4, 2024, Ty’Jon Preston pleaded guilty to racketeering conspiracy (Count One)

with the special sentencing factor of the murder of Ciera Jones. See Dkt Entry Nos. 200, 201. The

written plea agreement contained the following factual stipulation:

                The parties stipulate that (1) from at least as early as 2018 until August
                2023, Ty’Jon Preston was a member and/or associate of the
                racketeering enterprise known as the “Exit 8” gang; (2) in furtherance
                of the Exit 8 enterprise, Mr. Preston conspired to traffic various
                controlled substances including fentanyl, heroin, crack, marijuana,
                oxycodone, and Percocet pills; (3) the narcotics quantity for which the
                defendant is responsible, as a result of his role in the conspiracy, is at
                least 60 kilograms but less than 80 kilograms of converted drug
                weight; (4) throughout his association with the Exit 8 enterprise, Mr.
                Preston possessed, used, traded, and sold firearms, as did other
                members of the Exit 8 gang; (5) in furtherance of the Exit 8 enterprise,
                Mr. Preston committed acts of violence and conspired with and aided
                and abetted other Exit 8 members to commit acts of violence,
                specifically, on or about April 27, 2021, Mr. Preston attempted to
                murder R.S., on or about May 19, 2021, Mr. Preston conspired to
                murder T.B. and T.B. was murdered, on or about May 20, 2021, Mr.
                Preston attempted to murder rival gang members, and on or about July
                5, 2021, Mr. Preston murdered C.J.; (6) the violent acts committed by
                the defendant, and those he agreed to have happen and/or aided and
                abetted, were done to retaliate on behalf of the Exit 8 enterprise
                against rival gang members and to raise and maintain the reputation
                of the Exit 8 enterprise and the defendant’s status within the Exit 8
                enterprise. The defendant knew that acts of violence and retaliation
                were expected of members and associates of the Exit 8 enterprise.

See Dkt. Entry No. 201 at 4.

       The Final Presentence Report calculates a final combined adjusted offense level of 43 and

with Criminal History Category IV, a Guidelines range of life imprisonment. PSR ¶¶ 86-126, 186.

However, the parties agreed, via a binding plea agreement, that a sentence between 264 and 360

months was reasonable and appropriate here to achieve the purposes of sentencing. See Dkt. Entry

No. 201 at 5.




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       C.         Underlying Facts

       A detailed overview of the relevant offense conduct in this case is laid out in the PSR at

paragraphs 8 through 79. The Government has attempted to summarize that conduct in this

memorandum—focusing on the facts most relevant to Preston and the specific acts to which he

pleaded guilty.

                  1.    Background on Exit 8

       Ty’Jon Preston was a member of the New Haven street gang “Exit 8.” As this Court knows

from prior hearings in this case, the Exit 8 gang was named after a neighborhood in New Haven.




In the period alleged in the superseding indictment, members of Exit 8 were feuding with other

neighborhood gangs within the city, specifically gang members from within the “Hill” (the

southwestern-most neighborhood of New Haven) and gang members from the area of New Haven

known as the “G” (an area based around a former housing complex in the Fair Haven section of

New Haven (the Farnam Courts housing complex). Violence between these groups was retaliatory

and the rivalry was responsible for dozens of shootings and murders.

       Members of the Exit 8 gang identified themselves by the numbers “8” and “88,” and they

often utilize the symbol of an eight ball or for younger members of Exit 8, the word “Honcho (the

nickname of an Exit 8 member who was killed). The investigation revealed that Preston used

Facebook to promote his gang allegiance, contact gang members and plan criminal activity. For

example, on February 24, 2021, Preston, using the account “Tj Frmthablock,” posted a picture of



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Exit 8 gang members and associates with the comment, “We HonchoGang We More Than Friends

�� #HonchoGang5lzz #FreeBlick.” In this post, Preston was stating that the pictured group

was more than just a group of friends but was a gang—namely, the HonchoGang subset of the Exit

8 gang. There were numerous individuals in the photograph wearing memorial clothing for Myers,

a.k.a. “Honcho,” further evidencing the group’s reverence for Myers. Preston’s Facebook account

also included numerous examples of Preston trying to buy and sell firearms and his telephone

revealed additional videos of him with guns—some of which are listed in the PSR.

       Finally, investigators have recovered rap videos posted to YouTube, relevant to establishing

the enterprise membership of various Exit 8 members including Preston. There is a YouTube video

“Dooly x Block Blox xT’up Ty – BIG OPPS” released on August 30, 2021. The video shows

firearms and features Exit 8 gang members Preston, Quaymar Suggs, Ja’sean Stevenson, and other

Exit 8 associates. In the video, Preston raps “I can tell you what I did and what I didn’t do” but that

“there be bullets flyin’ everytime we slide,” meaning that Exit 8 members are firing their guns when

they conduct drive-by-shootings (“we slide’). Preston then adds: “We gonna hop out and get the

blick and that grid, no I ain’t missing,” referring to how he was going to get out of a car (“hop out”)

and get the gun (“blick”) and he would not miss. Preston raps “Lil nigga on his block he caught

them bullets bodies twisting, smoking 90 to the face it got me zooted now he’s spinnin’ down the

block the opposition is dippin.” As indicated in the PSR, witnesses would testify that these lyrics

refer to actual murders that Preston committed.

               2.      Narcotics Conspiracy

       Preston’s Facebook account also had a number of narcotics related messages that would

be used along with witness testimony to establish his involvement in the narcotics conspiracy.

For example, on November 5 and 6, 2020, Preston, using his Facebook account, confirmed to




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Facebook user “Jusblow” that he had “3 O’s” of “bud,” referring to three ounces of marijuana.

Similarly, on May 17, 2021, starting at approximately 11:16 p.m., Preston and another individual

discussed acquiring narcotics. The other individual explained to Preston that she just sold her last

eight ball of narcotics (approximately 3.5 grams) (“I just sold my last ball”) but could give an

unknown third party a quantity of narcotics (“but I can give him 250-300 worth of work for

180”). Preston advised that “they” were interested in acquiring narcotics, and that the third party

has the money to pay for the drugs (“He got the money” and “Na he getting it”). The reference to

“they” suggests that Preston was working with other Exit 8 members to sell narcotics. These are

just some of multiple messages relating to Preston’s drug dealing on behalf of the gang. Witness

testimony would also be used to establish Preston’s role in dealing narcotics.

               3.      April 27, 2021 Attempted Murder of Robert Smith

       Throughout his membership and association with the Exit 8 gang, Preston also committed

a number of acts of violence and aided and abetted in the commission of other acts of violence on

behalf of the gang. Preston specifically stipulated to four acts of violence in the plea agreement.

On April 27, 2021, at 7:36 p.m., the New Haven Police Department’s (“NHPD’s) ShotSpotter

gunfire-detection system alerted to six rounds fired at 681 Dixwell Avenue. This address is in the

Newhallville area of New Haven, which is outside of Exit 8’s territory. Law enforcement responded

to the scene and discovered that a man, identified as Robert Smith, had been shot.

       Officers found Smith sitting in a chair in the kitchen of a residence with a single gunshot

wound to his left thigh when they arrived and recovered four .380 shell casings at the scene. Smith

said he was walking on Dixwell Avenue from the grocery store when heard gun shots. Smith said

he realized he was struck but did not recall the direction from which the shots were coming

(although he said that they probably came from the car). Smith is not affiliated with a gang, but he




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was perceived as being disrespectful to the Exit 8 gang. This shooting is believed to have been

committed in retaliation for another incident in which Smith was involved and in order to protect

the Exit 8 territory.

        A witness would testify that he and others were chilling at the park in Hidden Quarry (HQ-

Exit 8 territory) before the shooting. Preston had a .380 firearm. Robey Smith drove into Exit 8

territory and was driving recklessly. Smith then drove off. Preston got his .380 and he and Devin

Suggs pursued Robey Smith’s car. After, there was a group call on Instagram and Preston said

“they” got him. Preston admitted that he was the shooter and Devin Suggs was the driver. Video

surveillance corroborated this version of events. The .380 fired cartridge casings (“FCCs”)

recovered at the scene of the attempted murder were linked through ballistics analysis to a number

of different incidents as discussed below, including attempted murders on May 10, May 11, May

14, May 17, May 19, and May 20, 2021 and the homicide of Tashawn Brown on May 19, 2021, all

believed to be Exit 8 initiated shootings. Microscopic comparisons further revealed that the FCCs

recovered from this incident were fired by the Ruger LCP .380 that was recovered on May 21, 2021,

during the arrest of Jaedyn Rivera and Devin Suggs.

        Law enforcement’s review of electronic evidence following this attempted murder also

provided additional information regarding the individuals involved. A search on Preston’s phone

revealed a picture of the .380 that likely fired the FCCs from April 26, 2021, suggesting that Preston

was in possession of that .380 the day before the shooting. Specifically, IMG_4573.JPG, created

on April 26, 2021 at 2:44 p.m., is a photo of a Ruger LCP semi-automatic pistol with serial number

372-35841 visible, and the six-round-capacity magazine partially ejected to show it contained what

appeared to be five brass casings. The pistol was lying in the lap of someone wearing black jeans




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with a frayed feature over the right leg. Those jeans are consistent with jeans worn by Preston in

other photographs recovered from his phone and from social media.




       In addition, a text message conversation between Preston and telephone number 475-254-

1076 (with the corresponding contact “Jay��,” believed to be Exit 8 member Ja’sean Stevenson)

took place beginning at 9:25 p.m. on April 27, 2021, approximately two hours after the shooting.

In this conversation, investigators believe that Preston was admitting to his involvement in the

shooting of Robert Smith. The casual, yet proud, way in which Preston relayed the shooting of

Smith to Stevenson shows how inculcated to violence members and associates of the Exit 8 gang

are and indeed, this attitude helps explain how Preston continued shooting and attempting to kill

again and again. In addition, on Devin Suggs’s telephones produced other evidence of his (Suggs’

involvement) and at 11:11 p.m., Ty’Jon Preston sent Suggs an image of a news article from “On




Scene Media New Haven County” describing the shooting.


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       Preliminary cell site analysis indicates that from 7:06 until 7:57 p.m., telephones used by

Devin Suggs had activity at cell sites south of the crime scene, meaning that his cell phone location

information is not inconsistent with being present for the shooting. Preston was using a Wi-Fi-only

device at the time and thus we do not have cell site data for his device. Finally, Preston’s DNA has

also come back as matching a Sprite bottle and swabs of DNA taken from the steering wheel and

shifter inside the Honda Civic used for this shooting.




       During the processing of the stolen vehicle, one .380 auto FCC was located on the

windshield below the driver side wiper. This FCC is linked to the FCC’s located on scene of the

attempted murder of Robert Smith on April 27, 2021.




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               4.      May 19, 2021 Homicide of Tashawn Brown

       On or about May 19, 2021, at 8:00 p.m., officers responded to the area of Ella T. Grasso

Boulevard and Stanley Street on a report of shots fired. This address is in the Ville area of New

Haven, which is outside of Exit 8 territory.




       Tashawn Brown suffered a gunshot wound to his abdomen and ultimately died due to his

injury. Officers located twenty-two .380 shell casings on Ella T. Grasso Boulevard between Stanley

Street and Edgewood Avenue. Video surveillance showed a black sedan pull onto Stanley Street

from Ella T. Grasso Boulevard and park in front of 71 Stanley Street. The victim and three

unidentified males exited the black sedan and walked west toward the Boulevard. The males then

stopped in front of 1307 Ella T. Grasso Boulevard. A silver SUV then drove north on the Boulevard

and appeared to shoot in their direction. The victim fell to the ground and the three other males ran

back toward Stanley Street. It appeared that one of the shooters shot over the top of the car

(consistent with witness testimony, as discussed below).

       The investigation revealed that at a memorial barbeque at Edgewood Park, Tashawn

Brown’s brother Angelo Gibson got into a fight with Exit 8 members, including codefendant

Quaymar Suggs, which was videotaped. Exit 8 member Hector Delgado was also present, and

when the fight ended, Delgado and Suggs promised to come back. Shortly after the altercation

ended, a black SUV driven by a black male, subsequently identified as codefendant Antwan Hill,



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and a Hispanic male, subsequently identified as Hector Delgado, as a passenger, with a firearm

seated in the front passenger seat, approached the park. People present at the barbeque convinced

the people in the car to leave and the victims also left.

       Sometime later, Suggs returned to the barbeque in a small silver SUV. By this time, Gibson

and Brown also had returned, parked across the street from the park, and exited the car in which

they had just returned. A witness saw that the black SUV driven by Hill, with Hector Delgado as a

passenger, also had returned. At this point, another witness saw Suggs shooting at Brown and

Gibson from the driveway of a nearby house, while another individual also fired at Brown and

Gibson from the silver SUV. The shooter in the car was sitting out of the rear passenger side

window and firing over the top of the car. This witness was close enough to see Suggs’s face while

he was shooting. Suggs and Ty’Jon Preston and Antwan Hill each later told other Exit 8 gang

members that they had “caught one,” meaning they had killed someone, and added that they had

committed this murder because the victims had jumped Suggs. Preston had two firearms with him

at the time, including a .380 and a Glock. The night of the homicide, Ty’Jon Preston texted a

contact “I need help!!!” and “I needa go somewhere.” When the contact asked why, Preston

responded, “Bro sum I can’t say.” Preston continued, “I’m telling you idk where I’m going.” “Don’t

know where to go.” “Can’t go home.” “Can’t go to my grandmother shii.” “Can’t go to my father

shii.” “It’s trenches.” “Worda day day idek what to do.” “It’s trenches rn.” “I’m most likely bouta

go down.” “They saying my name and shii.”




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       One witness further told law enforcement that a day or two after the shooting, “TJ” [Preston]

who is “Quay’s brother,” contacted her on Facebook. The witness was shown a photo of Ty’Jon

Preston and positively identified the photo as “TJ.” “TJ” asked to talk to the witness about “[t]he

boy that’s on your page,” referring to Tashawn Brown. “TJ” told the witness that people were

saying he had something to do with Brown’s murder and he wanted to clear his name. The witness

had recently seen, however, that “TJ” had posted a song on Facebook two days after Tashawn died

called “Big Ops,” which the witness interpreted as a “dis track” about Brown. Ballistics analysis

of the .380 casings discussed above indicated that they were fired by the same firearm as the shell

casings recovered from a number of shootings and a homicide, including the April 27, 2021,

shooting charged in the indictment; the May 10, 2021, shooting charged in the indictment; a May

11, 2021, shooting on 90 Pond Street; the May 14, 2021, shooting charged in the indictment; the

May 17, 2021, shooting charged in the indictment; a May 19, 2021, shooting on 460 Huntington

Street; and the May 20, 2021, shooting at Congress/West charged in the indictment. Officers also

found another set of .380 casings linked to an unrecovered firearm. The 9mm casings were linked

to one shooting from 2020 and the multiple incidents between May 19, 2021 and July 5, 2021,

including incidents from June 26, 2021 through July 5, 2021, the June 30, 2021 attempted murder




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at 161 1st Avenue charged in the indictment, and the July 5, 2021 homicide of Ciera Jones charged

in the superseding indictment.

       While the Government had previously understood that there was no request for restitution,

Tashawn Brown’s mother recently located a receipt for funeral expenses that indicates that she did

pay an additional $1,020 out of pocket. The Government has shared that receipt with defense

counsel and the Probation Officer and can also share with the Court if requested. Accordingly, the

Government plans to file a motion in Quaymar Suggs’ case and here for restitution of the $1,020 to

be paid jointly by Ty’Jon Preston and Quaymar Suggs.

       5.      May 20, 2021 Attempted Murder of Rival Gang Members

       On May 20, 2021, at approximately 2:14 p.m., ShotSpotter alerted to shots fired at 168 West

Street in New Haven. This address is in the Hill area of New Haven, which is rival territory for

Exit 8. When they arrived, NHPD officers found twelve 9-millimeter shell casings on the sidewalk

in front of 174 West Street, as well as ten casings (a mix of .380 and .45 caliber) and a bullet

fragment at the intersection of Congress Avenue and West Street—likely the result of two groups

shooting at each other. Two witnesses said they heard gunshots but did not see anything—one was

a resident who lived nearby, the other was the owner of a vehicle that was struck by gunfire. The

.380 casings recovered likely were fired by the Ruger LCP .380 that was later recovered from Rivera

on May 21, 2021 and ballistics analysis indicated that that firearm also fired the casings recovered

at the April 27, May 10, May 11, May 14, May 17, May 19, and the other May 20, 2021 incidents.

       Video surveillance of the incident showed a dark-colored BMW driving northeast on

Congress, passing West Street, and then abruptly pulling over to the right shoulder and parking.

Two males then exited the BMW and ran toward the Congress & West intersection, out of view.

The male who exited from the rear passenger-side door appeared to be a Black male wearing a




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black mask, white t-shirt, tan shorts, and dark-colored sneakers. This male appeared to be holding

a handgun in his right hand. The other male, who exited from the rear driver’s side door, appeared

to be a white or Hispanic male wearing a black mask, white t-shirt, white pants, and white sneakers.

He also appeared to be holding something. The men ran out of the frame of the video, leaving the

car doors open, and then returned to the BMW soon after, getting back into the same rear side doors

they exited from. The BMW then drove away on Congress. The driver and any front seat passenger

did not exit the car and did not appear on the video.




Later that day, an officer who had reviewed the video footage saw a dark BMW with four males in

the car and with a distinct sticker or emblem on the left side of the rear plate, which matched that

from the video. The officer ran the license plate and learned the car had been stolen from Fairfield.

Law enforcement attempted to stop the BMW at an intersection, but it eluded officers and drove

recklessly onto I-95 South—at which point, officers terminated pursuit.

       NHPD personnel familiar with Exit 8 members later reviewed the footage from the shooting

and observed that the lighter-skinned male fit the description of Rivera while the darker-skinned

male fit the description of Preston. Detectives then viewed Rivera’s Facebook, “Jae Honcho,” and

observed a photograph of Rivera, Preston, and Devin Suggs that had been posted on May 20,




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following this shooting. Rivera was wearing clothing that matched the clothing worn by the light-

skinned male from the surveillance video, and Preston was wearing clothing that matched the

clothing worn by the dark-skinned male in the video. Rivera’s Facebook stories also had a video

of Rivera and Preston sitting in the back of a moving car wearing clothing similar to the two males

seen in the video of the shooting. The BMW that was later recovered has the same color interior

as the car in this video. The videos were created at approximately 2:41 p.m. and 2:50 p.m.,

approximately half an hour after the shooting. Subsequent review of Rivera’s Snapchat account,

“lilwoa88,” pursuant to a search warrant revealed additional videos corroborating the involvement

of Rivera and Preston in this shooting. Finally, as detailed in the PSR, Devin Suggs’ and Preston’s

phone also contain additional messages, which further show their involvement. Subsequent events

suggest that this shooting was the first in a series of three incidents on May 20 of Exit 8 and Hill

gang members trading shots. This is another example of a violent incident in which Preston was

involved and which he demonstrated total disregard not only for the lives of who he perceived to

be opposing gang members, but also any civilians who might have been mistakenly hit in the

crossfire.

                   6. July 5, 2021 Murder of Ciera Jones

        On or about July 5, 2021, at 2:42 p.m., ShotSpotter alerted to three shots fired at 73 Truman

Street in New Haven. Upon arrival, officers located the victim on the walkway of 61 Truman Street

suffering from a gunshot wound to the head. The victim, Ciera Jones, later died due to her injuries.

Officers located seven shell casings on the southwest corner of Clover Place and Truman Street and

eight shell casings on the northwest corner of the same intersection, in the area where the two men

described above were shooting from. These casings included 9-millimeter casings. Darlene

Galbert, Ciera’s mother, recounted hearing what she thought was fireworks and then going outside

and seeing her daughter “laying face up on the ground with a hole in her head, and part of her brain


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on the ground.” Another witness, who was in his car outside when the murder occurred, said he

saw a larger van type vehicle drive by slowly and make a righthand turn and then someone got out

of the car. He said he saw Ciera Jones notice this person coming toward her and try to run. He

described this person as a young Black male (20 or 21) with short hair, slim hair and not

extraordinarily tall. The male was wearing a ski mask, but the mask was not pulled all the way

down. He described this person as being fixated on Ciera Jones and just shooting her execution

style with a black handgun and then turning around casually returning to the car and leaving. The

witness did not see the car leave but noticed it later when he looked at a neighbor’s surveillance

camera.

       Another witness was told by Preston that they had targeted Jones because she was making

“dis tracks” disrespecting Exit 8 about a month before she was killed. About a month before the

murder, Preston and Hill had walked up to Jones and asked if she was CeCe Jones and she said

“no.” On the day of the murder, Preston and Hill found her and both Preston and Hill shot her, but

Preston killed her. Preston admitted to a witness (who would have testified at any trial in this case)

that he was armed with a Polymer80 Privately Made Firearm (PMF), and Hill was armed with a

Glock, which was the same Glock from the Tashawn Brown homicide (this is confirmed by the

ballistics analysis). They “walked down” on Jones and shot her. Preston traded the Glock used to

another Exit 8 associate (Nygere Evans), who observed that there was blood on the firearm.

Preston’s telephone contains searches on July 9, 2021 for “how to clean blood off a gun” and

“cleaning dried blood off a rifle,” further corroborating the witness’s story, and this firearm was

later recovered.

       Surveillance cameras showed a SUV park on Clover Place west of Truman Street. Two

individuals exited the vehicle and walked to the corner of Clover Place and Truman Street. Both




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individuals began to shoot north on Truman Street, where the victim was located. Additional

surveillance footage captured a plate for the vehicle, which was determined to be a Honda Pilot. A

registration check indicated that the vehicle was stolen from Stratford. The Honda Pilot was

recovered later that day at 89 Lexington Avenue in New Haven and was observed to have a broken

rear passenger’s side window as well as several spent shell casings inside the vehicle. The window

was broken after the murder. Further investigation revealed that Nyzaire Barnes’ iCloud account

had linked to the “infotainment” system from the stolen car. Ballistics analysis of 9-millimeter

casings recovered from this incident revealed that the casings were likely fired by the same firearm

as the 9 millimeter casings recovered from the May 19, 2021 homicide of Tashawn Brown and the

June 30, 2021 attempted murder at 161 First Avenue, as well as two other shots-fired incidents in

New Haven on June 27, 2021 and June 30, 2021. Hill’s DNA profile matches DNA found on a

cigar butt in the car at a rate of 100 billion and on the driver’s side rear interior door handle.

Barnes’s DNA is included on another cigar butt at a rate of 4.8 billion. Rivera, Preston, and Devin

Suggs were eliminated from DNA found in the Pilot.

       The Government does intend to seek restitution for the funeral expenses of Ciera Jones and

will submit a motion for a restitution order in advance of sentencing to be shared with Antwan Hill.

As indicated in the PSR, restitution in the amount of $2,070.50 is payable to Ms. Jones’ biological

mother, Darlene Galbert, and $2,029.50 is payable to Ms. Jones’ adoptive mother, Carolyn

Whitfield. See PSR ¶ 81.

       II.     LEGAL FRAMEWORK

       Following the Supreme Court’s holding in United States v. Booker, 543 U.S. 220, 243-45

(2005), which rendered the Sentencing Guidelines advisory rather than mandatory, a sentencing

judge is required to: “(1) calculate[] the relevant Guidelines range, including any applicable




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departure under the Guidelines system; (2) consider[] the Guidelines range, along with the other

§ 3553(a) factors; and (3) impose[] a reasonable sentence.” United States v. Fernandez, 443 F.3d

19, 26 (2d Cir. 2006). The § 3553(a) factors include: (1) “the nature and circumstances of the

offense and history and characteristics of the defendant;” (2) the need for the sentence to serve

various goals of the criminal justice system, including (a) “to reflect the seriousness of the offense,

to promote respect for the law, and to provide just punishment,” (b) to accomplish specific and

general deterrence, (c) to protect the public from the defendant, and (d) “to provide the defendant

with needed educational or vocational training, medical care, or other correctional treatment in the

most effective manner;” (3) the kinds of sentences available; (4) the sentencing range set forth in

the guidelines; (5) policy statements issued by the Sentencing Commission; (6) the need to avoid

unwarranted sentencing disparities; and (7) the need to provide restitution to victims. See 18 U.S.C.

§ 3553(a).

       The Second Circuit reviews a sentence for reasonableness. United States v. Canova, 412

F.3d 331, 350 (2d Cir. 2005). The reasonableness standard is deferential and focuses “primarily on

the sentencing court’s compliance with its statutory obligation to consider the factors detailed in 18

U.S.C. § 3553(a).” Id.

       III.    DISCUSSION

       Through his participation in the Exit 8 gang, Ty’Jon Preston and other Exit 8 gang members

wreaked havoc on an entire city—terrorizing neighborhoods and the inhabitants of the city.

       A.      The Nature and Seriousness of the Offense

       There is no crime more serious than murder. Here, Preston was involved in at least two

homicides. One of those homicides occurred at a barbeque when people were relaxing. The other,

occurred outside of the victim’s house in a seemingly unprovoked, execution-style homicide. For

both, the motive was little more than Preston and others felt disrespected. As the Government has


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argued before, Tashawn Brown was eighteen years old at the time. He had graduated high school

and had a scholarship to attend Porter & Chester technical school.




                                         He will never get to go on to do these things as his life has

tragically been cut short. But shooting Brown in front of his family (including younger siblings)

and in front of other innocent bystanders has also caused them unbelievable trauma and destroyed

their lives. Similarly, Ciera Jones did not deserve to die and she certainly did not deserve to be shot

outside her house when she was doing nothing more than standing outside. The Court has heard

before and will likely hear again, what a kind and wonderful person she was who always wanted to

help others. Her mother did not deserve to see her daughter’s body on the ground and her family

did not deserve to suffer the ongoing trauma of her murder.




       Preston has also admitted to shooting Smith and to shooting rival gang members. In those

cases, it is not only the targets that suffered the consequences and the trauma, but everyone else

who witnesses the shootings and who has to live with the fear. It is for these crimes—which could


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not be more serious and all of the other acts of violence and drug dealing—that Preston must be

punished.

          There are individuals charged in this case who embraced the Exit 8 culture, but did not fully

commit themselves to its violent ideology. Ty’Jon Preston was not one of those people. Perhaps

the most violent of the gang, time and again, he was in the middle of gang related violence. For

whatever reason, he decided to try to kill multiple people over a significant period of time—even

after seeing the consequences of his shootings. This was not one mistake, but a conscious decision

to take and seek to take human life and to live his own life with complete disregard for the lives of

others.

          B.     History and Characteristics

          Ty’Jon Preston was arrested in September of 2021 for carrying a pistol without a permit

and transferred to federal custody on November 27, 2024. PSR ¶ 6. This was not Preston’s first

run in the with the law, however. Preston was convicted of larceny in the first degree after

stealing a car in Westport in August of 2020; he was convicted of larceny in the second degree for

stealing a vehicle in New Haven in August of 2021; and he was convicted of larceny in the

second degree for stealing a car in North Haven in June of 2023. See PSR ¶¶ 133. Unfortunately,

these run-ins with the law did not deter Preston. 2 Acting with impunity, his violence escalated

throughout those years until he ended up in the position where finds himself today. He also has

other arrests, which were nolled, including stealing a firearm (July 2021) and illegal possession of

a large capacity magazine and risk of injury to a child (July 2021).




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  As the PSR finds, the Government also does not believe there is a sufficient connection between Preston’s general
stealing of cars and the fact that the Exit 8 gang stole cars to consider these convictions as part of the Exit 8
racketeering activity.


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         There is no doubt that Ty’Jon Preston had a difficult childhood—recounted in the PSR an

in more vivid detail in the defense memorandum—and that his childhood and the lack of

opportunities with which he was presented contributed to his decisions to join the Exit 8 gang and

promote and perpetuate its culture of violence—but it was Ty’Jon Preston who made those

choices. He was impacted by the violence he was exposed to and likely traumatized by it, but he

continued the cycle and brought that violence to others’ lives. As Government counsel has

argued repeatedly to this Court, there are many other people in New Haven and elsewhere who

came from similar or worse backgrounds and who do not make the decision to pick up a gun or to

keep on shooting after injuring the first person or to keep on shooting and killing after

participating in a murder. Nothing about Preston’s trajectory was pre-determined just as nothing

about whether or not he is capable of leaving this path and turning around his life is pre-

determined as of now.

         As for the mitigating factor raised by defense counsel that Preston’s brain was not fully

developed, the Government does not disagree. This argument though carries more weight when

the offense conduct is one act or several isolated acts. When a person chooses to again and again

engage in violence, the problem is more severe than lack of maturity. It is a disconnect with

reality or a deliberate refusal to view human life as sacred or to see the consequences of one’s

actions.

         C.     Promote Respect for the Law and Provide Just Punishment

         As the Government has previously brought to the Court’s attention, a 2017 Research Report

by the Urban Institute found that additional gunshots in the cities studied could be directly

associated with fewer jobs, fewer businesses opening, and more businesses closing. See Yasemin

Irvin-Erickson, et al., A Neighborhood-Level Analysis of the Economic Impact of Gun Violence

(Urban               Inst.             June              2017),              available               at


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https://www.urban.org/sites/default/files/publication/90671/eigv_final_report_3.pdf (last visited

March 4, 2025). Similarly, a study published in November 2018 found that standardized test scores

for English Language Arts and math were approximately 50 percent lower in the elementary

schools located in areas with higher levels of gunshots. See Dessa Bergen-Cico, et al., Community

Gun Violence as a Social Determinant of Elementary School Achievement, 33 Soc. Work in Pub.

Health 439 (Issues 7-8) (2018), available at https://www.researchgate.net/publication/328944040_

Community_Gun_Violence_as_a_Social_Determinant_of_Elementary_School_Achievement (last

visited March 4, 2024). As the Government has repeatedly argued to this Court, the gang lifestyle

and the promotion of violence has broader repercussions than just the individual victims and there

is a need here to promote respect for the law and to provide just punishment. When Ty’Jon Preston

shot at rival gang members or those who perceived to be disrespectful, he created a climate of fear

and enduring trauma that has persisted for years. Indeed, the same way that he argues that the

climate of violence in which he grew up may have affected his decision-making and his actions,

see Defense Memorandum at 17, he also created a climate of violence for many others. He

desensitized others by perpetuating the violence and he did not just live it and experience it himself,

but he embraced the violence and passed it on to others.

        D.     Need to Accomplish Specific and General Deterrence

       In the Government’s view the sentence here needs to cement in Ty’Jon Preston’s head that

he can never ever return to doing what he was doing before he was incarcerated. Although the

sentence the Government is requesting is a long one, it is minimally necessary to give the

defendant a chance to reflect on what he has done and to deter him from ever looking at or

touching a firearm again. Government counsel appreciates that Ty’Jon Preston may finally be

recognizing the pointlessness of what he accomplished in his comment to defense counsel “[n]ow




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that I look back, it was all for nothing,” see Defense Memorandum at 6, but frankly, this is

something that he should have realized after the first couple of shootings. Hopefully, the progress

that Preston has made since being incarcerated continues and this should not in any way minimize

that progress. If Preston is to succeed after he is released, he must continue on that path. But

first, a lengthy prison sentence is necessary.

       General deterrence is also an aim. Although there is some debate about how much any

individual sentence deters crime, a sentence in a case of this nature after a person has admitted

involvement in so many acts of violence, must be long enough to send a message to others to

think long and hard before ever considering engaging in any sort of vigilante justice or before

turning the streets of New Haven into a neighborhood war zone.

        E. The Need to Protect the Public

       Finally, the need to protect the public weighs heavily in favor of a lengthy sentence. At the

time of the gang war in which Exit 8 members were eager participants, the cities of Connecticut

endured the worst violence seen in decades. In the cities of New Haven, Waterbury, Hartford, and

Bridgeport, there were a total of eighty homicides committed with firearms in 2021. Focusing on

gangs and groups that celebrate violence is a deliberate attempt to target those most violent actors

and reduce the high levels of violence that have plagued the urban centers in this state. Those who

celebrate violence and repeatedly use firearms must be removed for a period of time so that the

community can heal, and the perpetrator can be sufficiently deterred.

        F. Supervised Release Conditions

       The special supervised release conditions outlined in the PSR all are appropriate in this

case. The prohibition against contacting known gang members, other than his brother, will help

to ensure that Ty’Jon Preston is not pulled into more criminal activity and the educational and




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vocational services program condition, will help prepare him to succeed in his reentry process.

The search condition is reasonable here in light of his history of guns and drugs and the mental

health and substance abuse treatment condition are directly tied to the history he disclosed in the

PSR. The prohibition against contact with victims will also help to keep Preston from returning

to criminal activity and the two conditions related to financial information and restitution are

relevant here in light of the restitution order that the Government is seeking.

 IV. CONCLUSION

       For the foregoing reasons, a sentence within the agreed upon Guidelines range of 240 to

360 months is minimally necessary to achieve the purposes of federal sentencing.

                                             Respectfully submitted,

                                             MARC H. SILVERMAN
                                             ACTING UNITED STATES ATTORNEY

                                             /s/ Jocelyn Courtney Kaoutzanis

                                             JOCELYN COURTNEY KAOUTZANIS
                                             Fed. Bar No. CT30426
                                             ASSISTANT U.S. ATTORNEY
                                             U.S. Attorney’s Office
                                             157 Church Street
                                             New Haven, CT 06510
                                             (203) 821-3700




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                               CERTIFICATION OF SERVICE

       I hereby certify that on March 5, 2025, a copy of the foregoing was filed electronically, by
facsimile and served by mail on anyone unable to accept electronic filing. Notice of this filing will
be sent by e-mail to all parties by operation of the Court’s electronic filing system or by mail to
anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the Court’s CM/ECF System.


                                                      /s/ Jocelyn Courtney Kaoutzanis
                                                      JOCELYN COURTNEY KAOUTZANIS
                                                      ASSISTANT U.S. ATTORNEY




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